     Case 1:19-cr-02038-SAB    ECF No. 210   filed 06/27/22   PageID.1908 Page 1 of 2



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                                                                         FILED IN THE
 2                                                                   U.S. DISTRICT COURT
                                                               EASTERN DISTRICT OF WASHINGTON


 3                                                              Jun 27, 2022
 4                                                                  SEAN F. MCAVOY, CLERK



 5                       UNITED STATES DISTRICT COURT
 6                    EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,
 9                            Plaintiff,         No. 1:19-CR-02038-SAB-1
10        v.
11 JORDAN EVERETT STEVENS,                       ORDER REFERRING CASE
                                                 FOR APPOINTMENT OF
12                            Defendant.         COUNSEL
13
14        An evidentiary hearing on Defendant Jordan Everett Stevens’ Motion for
15 New Trial, ECF No. 167, was held in the above-captioned matter on June 16, 2022
16 in Yakima, Washington. Virginia Rockwood appeared on behalf of Defendant
17 Jordan Everett Stevens, who was present in the courtroom and in custody of the
18 U.S. Marshals Service. Richard Burson appeared on behalf of the United States of
19 America.
20        At the conclusion of the hearing, defense counsel moved for leave to
21 withdraw. It was anticipated from the outset that counsel would represent
22 Defendant on the limited issue of his Motion for New Trial, ECF No. 167.
23 Accordingly, defense counsel will be permitted to withdraw as soon as new
24 counsel is appointed for Defendant.
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28 //

     ORDER REFERRING CASE FOR APPOINTMENT OF COUNSEL * 1
     Case 1:19-cr-02038-SAB   ECF No. 210   filed 06/27/22   PageID.1909 Page 2 of 2



 1       Accordingly, IT IS HEREBY ORDERED:
 2       1.    The above-captioned matter is referred to Magistrate Judge Alexander
 3 C. Ekstrom for appointment of counsel.
 4       IT IS SO ORDERED. The District Court Clerk is directed to file this Order
 5 and provide copies to counsel and Magistrate Judge Ekstrom.
 6       DATED this 27th day of June 2022.
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                                                Stanley A. Bastian
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                                       Chief United States District Judge
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     ORDER REFERRING CASE FOR APPOINTMENT OF COUNSEL * 2
